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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               CASE NO.: 03-CR-20859-PCH

   UNITED STATES OF AMERICA,

   v.

   KANIYN PARKER,

         Defendant.
   ______________________________/

        ORDER ADOPTING REPORT AND RECOMMENDATIONS AND DENYING
            DEFENDANT’S MOTION FOR COMPASSIONATE RELEASE

          THIS MATTER is before the Court on Defendant Kaniyn Parker’s (“Defendant”)

   Motion for Compassionate Release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (“Motion”) [ECF

   No. 161], which was filed pro se on June 22, 2020. The Motion was referred to Magistrate

   Judge McAliley [ECF No. 163] for a Report and Recommendation. In the Motion, Defendant

   argues that his release from prison is warranted because his pre-existing health condition,

   asthma, places him at a heightened risk of severe illness from COVID-19. The Government

   responded to the Motion [ECF No. 164] on July 6, 2020. Defendant filed his pro se reply in

   support of the Motion [ECF No. 166] on July 28, 2020.

          Magistrate Judge McAliley issued the Report and Recommendation (“R&R”) [ECF No.

   168] on August 27, 2020, recommending that the Court deny the Motion because Defendant

   failed to (1) exhaust his administrative remedies and (2) show that an extraordinary and

   compelling reason warrants his release. On October 27, 2020, Defendant filed his objection to

   the R&R (“Objection”) [ECF No. 177]. In his Objection, Defendant explains that he was

   diagnosed with COVID-19 in August 2020, but that he has since recovered from the illness.

   (See Mot. at 2, stating “I was lucky this time and my body fought off [the symptoms] that I



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   had”).

            The Court has independently reviewed the record and the relevant legal authorities, and

   is otherwise duly advised. After a de novo review, the Court agrees with the reasoning and

   recommendations in the R&R, including the analysis on both the failure to exhaust

   administrative remedies and the merits. In addition, the Court is pleased to learn that Defendant

   has recovered from his COVID-19 diagnosis. However, because Defendant has successfully

   recovered and thus is in less danger of suffering severe symptoms from COVID-19, the Court

   finds that Defendant has not shown any extraordinary and compelling reason warranting his

   release. The Court therefore adopts the R&R in full and concludes that Defendant has both

   failed to (i) exhaust his administrative remedies and (ii) demonstrate an extraordinary and

   compelling reason warranting his release. Accordingly, it is

            ORDERED AND ADJUDGED that (1) the R&R [ECF No. 168] is APPROVED and

   ADOPTED in its entirety as part of this Order and (2) Defendant’s pro se Motion for

   Compassionate Release [ECF No. 161] is DENIED.

            DONE and ORDERED in Miami, Florida on November 5, 2020.




                                                         _____________________________
                                                         Paul C. Huck
                                                         United States District Judge

   cc:      All Counsel of Record;
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